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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )                  8:05CR86
                                    )
          v.                        )
                                    )
HEATHER M. ELLIS,                   )                    ORDER
                                    )
                Defendants.         )
                                    )
                                    )


     Upon defendant’s oral motion to enter a change of plea and
request for hearing,

     IT IS ORDERED,

     1.   Defendant’s change of plea hearing is scheduled before
the undersigned on August 31, 2005 at 11:00 a.m. in Courtroom #2,
United States Courthouse, Lincoln, Nebraska.

     2.   For this defendant, the time between today’s date and
the hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).


     DATED this 18th day of August, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
